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 6   Attorneys for Plaintiffs
     NICOLE UHLIG AND MICHELLE STOLDT,kS TRUSTEES OF (I) THE
 7   SURVIVOR' S TRUST ESTABLISHED UNDER THE WOLFGANG AND
     ELKE UHLIG REVOCABLE LIVING TRUST U/A/D APRIL 16, 1998; (2)
 8   THE MARITAL GST NON-EXEMPT TRUST ESTABLISHED UNDER THE
     WOLFGANG AND ELKE UHLIG REVOCABLE LIVING TRUST U/A/D
 9   APRIL 16, 1998, AS AMENDED (3) THE MARITAL GST EXEMPT TRUST
     ESTABLISHED UNDER THE WOLFGANG AND ELKE UHLIG
10   REVOCABLE LIVING TRUST U/A/D APRIL 16, 1998, AS AMENDED; AND
     (4) THE BYPASS TRUST ESTABLISHED UNDER THE WOLFGANG AND
11   ELKE UHLIG REVOCABLE LIVING TRUST U/A/D APRIL 16, 1998, AS
     AMENDED
12
                          UNITED STATES DISTRICT COURT
13
                        SOUTHERN DISTRICT OF CALIFORNIA
14
15   NICOLE UHLIG AND MICHELLE                       CASE NO. 20-CV-00887-DMS-
     STOLDT, AS TRUSTEES OF (1) THE                  MSB
16   SURVIVOR' S TRUST ESTABLISHED
     UNDER THE WOLFGANG AND ELKE                     Action Filed: May 13, 2020
17   UHLIG REVOCABLE LIVING TRUST
     U/A/D APRIL 16, 1998; (2) THE MARITAL           Judge: Hon. Dana M. Sabraw
18   GST NON-EXEMPT TRUST                            Magistrate: Hon. Michael S. Berg
     ESTABLISHED UNDER THE
19   WOLFGANG AND ELKE UHLIG
     REVOCABLE LIVING TRUST U/A/D                    DECLARATION OF NICOLE
20   APRIL 16, 1998, AS AMENDED,_(3) THE             UHLIG IN OPPOSITION TO
     MARITAL GST EXEMPT TRUST                        MOTION TO DISMISS
21   ESTABLISHED UNDER THE
     WOLFGANG AND ELKE UHLIG
22   REVOCABLE LIVING TRUST U/A/D                    Date: September 4, 2020
     APRIL 16, 1998 AS AMENDED; AND (4)              Time: 1:30 PM
23   THE BYPASS TRUST ESTABLISHED                    Dept: Courtroom 13 A
     UNDER THE WOLFGANG AND ELKE
24   UHLIG REVOCABLE LIVING TRUST
     U/A/D APRIL 16, 1998, AS AMENDED,               Submitted Concurrently with
25                                                   Memorandum ofPoints and
                              Plaintiffs,            Authorities in Opposition to
26                                                   Motion to Dismiss
     vs.
27
                                                     Action Filed: May 12, 2020
28                                             -I -
     DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                  Case No.20-CV-00887-DMS-MSB
       1   FAIRN & SWANSON HOLDINGS, INC. a
           Delaware Corporation; LEON FALIC, an
       2   individual; SIMON FALIC, an individual.
           JEROME FALIC, an individual; and DOES 1
       3   through 20, inclusive,
       4                              Defendants.
       5
       6          I, Nicole Uhlig, hereby declare as follows:
       7          1.     I am now and have at all times relevant to this declaration resided in
       8   California. I am a co-trustee with my sister, Michelle Stoldt, ofthe four trusts
       9   herein ("Trusts") and we are responsible for their administration and oversight.
      10   The Trusts' assets and administration are all in California. Among the assets ofthe
      11   Trusts are their respective interests in Fairn & Swanson, Inc. ("F&S") totaling 80%
      12   of the outstanding stock ofF & S. This litigation arose out of a transaction which I
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      13   on behalf of the Trusts negotiated with defendants, as discussed below, in which
      14   defendants agreed to purchase the Trusts' shares in F & S. As discussed below, the
      15   negotiations reached the point of a binding letter of intent signed by Michelle and
      16   me on behalf of the Trusts and signed by defendants, and each of them. In
      17   addition, I have at all relevant times to this declaration been the Chairperson ofthe
      18   Board, President, and Secretary ofF & S. The matters set forth within this
      19   declaration are within my firsthand knowledge and if I were to be called as a
      20   witness to testify thereto I would be competent to so testify.
      21
      22         F&S
      23
      24         2.     F & S was incorporated in California in 1949 and has at all times
      25   since been headquartered in Northern California. At its corporate headquarters are
      26   kept all its financial records, corporate records, and other records relevant to its
      27   business. F&S since 1949 has been a retailer of products in the travel and retail
      28                                             -2-
           DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                        Case No.20-CV-00887-DMS-MSB
       1   industries. Initially, it supplied duty — free products to marine vessels visiting the
       2   San Francisco Port and has since evolved into one of the larger wholesale and
       3   retail companies in the American duty — free and travel retail industry. It supplies
       4   retail products to international travelers, including p assengers and crew, from
       5   fishing vessels leaving the Port of Seattle for the Bering Sea, commercial freighters
       6   traveling to and from Shanghai and the Port of Los Angeles, cruise ships traveling
       7   through the Caribbean islands, as well as visitors and commuters driving to and
       8   from Mexico and Canada. Its business is dependent upon the travel and tourist
       9   industries.
      10
      11         Duty-Free Americas, Leon Falic, Simon Falic, Jerome Falic, and Fairn &
      12   Swanson Holdings, Inc.
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1-1   13
      14         3.      Duty-Free Americas is one of the largest businesses in the travel retail
      15   industry in the Western Hemisphere offering an extensive selection of fragrances,
      16   cosmetics, wines, spirits, tobaccos, edibles, luxury leather goods, and other such
      17   goods in its hundred 80 locations. I know from my involvement in the travel retail
      18   industry and from Duty— Free Americas website that Leon Falic, Simon Falic, and
      19   Jerome Falic ("the Falics") effectively own and control Duty— Free Americas.
      20   Duty-Free Americas is a competitor of F & S.
      21         4.      Fairn & Swanson Holdings, Inc. ("F & S Holdings") was formed in or
      22   about 2015 by the Falics to participate in a stock purchase agreement dated 2015
      23   by which the Falics jointly purchased 123 shares ofF & S stock, representing 20%
      24   of the outstanding stock in F & S, and the Falics, by such agreement were provided
      25   an option to purchase from the Trusts the remaining 492 shares in F & S; and
      26   granted the right to the Trusts to require F & S Holdings to purchase from the
      27   Trusts the remaining 492 shares. (Such transaction in set forth in the Stock
      28                                             -3-
           DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                        Case No.20-CV-00887-DMS-MSB
 1   Purchase and Option Agreement by and Among Jerome Falic, Simon Falic and
 2   Leon Falic as Initial Purchasers etc. dated August 4, 2015, a true and correct copy
 3   of which is attached hereto and marked "Exhibit 1." Herein, "2015 SPOA.")
 4
 5          The Overall Business Transaction of the Falics ' Attempt to Acquire the
 6   Entirety ofF & S Stock
 7
 8         5.        The Falics have over the last 15 years made numerous overtures to
 9   purchase all or a portion ofF & S's stock and to that end entered into negotiations
10   and contracts all to accomplish that purpose. In 2005, the Falics entered into
11   negotiations with my father, Wolfgang Uhlig, to purchase all outstanding shares of
12   stock in F & S. The negotiations culminated in a letter of intent prepared by the
13   Falics and forwarded to my father by which the Falics declared they were "pleased
14   to set forth in this letter agreement your and our agreement and understanding of
15   the essential terms and conditions for the acquisition... of all outstanding stock of
16   Fairn & Swanson Inc.... by a newly formed entity ("Buyer") controlled by us and
17   affiliated with DFA Holdings, Inc." (The "DFA" reference apparently is to "Duty-
18   Free Americas".) The purchase price was to be $12 million. My father decided
19   that he did not want to have a business relationship with the Falics and terminated
20   the negotiations without executing the proposed letter of intent. (A true and
21   correct copy of such proposed letter of intent is attached hereto and marked
22   "Exhibit 2.")
23         6.     The Falics continued to pursue acquisition ofF & S stock. The
24   culmination ofthat effort in 2015 was the execution of the 2015 SPOA. By the
25   2015 SPOA the Falics, parties to the 2015 and identified as "Initial Purchasers",
26   jointly purchased 123 shares ofF & S; and F & S Holdings, LLC, identified as
27
28                                             -4-
     DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                  Case No.20-CV-00887-DMS-MSB
 1   "Buyer", was given rights and obligations to purchase the remaining 492 shares
 2   outstanding ofF & S stock.
 3          7.     In accordance with the 2015 SPOA, F & S provided periodic financial
 4   records to the Falics including balance sheets, profit and loss statements, and
 5   related financial information. The Falics were necessarily fully aware of and
 6   acknowledged to me their awareness ofthe dire financial condition ofF & S in the
 7   period from December 2019 until F&S filed for a Chapter 7 bankruptcy proceeding
 8   in June 2020.
 9          8.    The 2015 SPOA p rovided the Falics with a right of first offer should
10   the Trusts determine to sell the remaining 80% interest in F & S. On November 21,
11   2019 I prepared and sent a letter to the Falics advising them that marketing ofthe
12   remaining 80% interest for $25,600,000.00 was going to be undertaken and
13   provided them with the terms for the exercise of such right. (A true and correct
14   copy of such letter is attached hereto and marked "Exhibit 3.") The Falics refused
15   the offer in December 2019, contacted me and requested I negotiate with them to
16   sell them all of the stock.
17
18         The Negotiations, Documentation, and Follow up Documents Relating to the
19   March 3, 2020 BindingLetter ofIntent, the Subject of this Action.
20
21         9.     On March 3, 2020 Leon Falic forwarded to me the three Falics fully
22   executed by the three Falics the letter of intent by which F & S Holdings, the buyer
23   and the Trusts, sellers, agree the Trusts will convey their 80% interest in F&S to
24   F&S Holdings with escrow to close on March 17, 2020. (A true and correct copy
25   of such letter of intent with the forwarding email by Leon Falic are attached hereto
26   and marked "Exhibit 4." Herein, referred to as the "2020 Binding LOI.") The
27   individual Falics executed the 2020 Binding LOI without specifying they were
28                                             -5-
     DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                  Case No.20-CV-00887-DMS-MSB
                                      1   signing it only on behalf of Holdings. Within days thereafter the Falics told me
                                      2   they intended to purchase the F&S stock individually rather than by Holdings.
                                      3         10.    The negotiations leading up to the execution of the 2020 Binding LOI
                                      4   were between me and Leon Falic, who told me he was negotiating on behalf of his
                                      5   brothers as well as himself, and commenced in December, 2019 and continued
                                      6   until the execution of the 2020 Binding LOI on March 3, 2020. At all times during
                                      7   those negotiations, except for one trip to Las Vegas and one trip to Miami, Florida,
                                      8   I was in California communicating with Leon Falic over terms and conditions for a
                                      9   sale of the stock. We met in Las Vegas rather than California although Leon
                                     10   Falic asked to come to California to perform due diligence. I did not want him
                                     11   present at the F&S facility because I was concerned he would discuss the
Gordon Rees Scully Mansukhani, LLP




                                     12   transaction with non-owners while in California. I therefore provided due
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13   diligence materials to Leon Falic and his brothers in Las Vegas. The Trusts
                                     14   executed the 2020 Binding LOI in California. Escrow was opened with Old
                                     15   Republic Title Company, located in San Francisco, California, and the Falics
                                     16   deposited $1,500,000 in escrow as partly contemplated by the 2020 Binding LOI.
                                     17   (The 2020 Binding LOI provides for a one million-dollar deposit. The Falics
                                     18   deposited an additional $500,000 apparently to have such funds available for the
                                     19   transaction closing.)
                                     20         11.    Before the 2020 Binding LOI was executed, I was in the process of
                                     21   marketing the Trusts’ 80% stock holding in F & S. Leon Falic was aware of that
                                     22   marketing effort and demanded that it cease. I refused to terminate such marketing
                                     23   effort unless and until a binding letter of intent was signed committing the Falics
                                     24   by a binding contract to consummate the acquisition of the Trusts’ 80% stock
                                     25   holdings in F & S. I was quite concerned about the fact that marketing the stock
                                     26   required substantial time and that once a potential buyer was found its due
                                     27   diligence and related issues would undoubtedly delay any binding contract for
                                     28                                           -6-
                                          DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO
                                          DISMISS                                                     Case No.20-CV-00887-DMS-MSB
 1   months. Before November 2019 and thereafter F & S had been losing money so
 2   fast a quick closing was vital. Our investment bankers, who I retained to assist in
 3   the marketing effort projected that it would take 4 to 6 months from the time we
 4   signed an agreement with them that they would be able to find a buyer. (Attached
 5   hereto and marked "Exhibit 6" is an email from Leon Falic dated February 14,
 6   2020 in which he acknowledges that the marketing process will take at "least 6
 7   Months..." and ifthe Trusts did not agree to sell the stock to him "he will be
 8   standing on the sidelines" waiting to exercise the Falics ' right of first refusal under
 9   the 2015 SPOA.)
10         12.    While I was negotiating with Leon Falic, I was also following through
11   on inquiries from other potential purchasers brought to me by investment bankers
12   and word-of-mouth in the industry and those inquiries led to negotiations with
13   potential buyers during the period I was negotiating with Leon Falic. In several
14   instances nondisclosure agreements were entered into to enable the parties to have
15   access to F & S trade secrets and financial information. Leon Falic insisted that he
16   be provided with the names of all potential purchasers as well as copies of all
17   nondisclosure agreements. I refused advising him that unless and until a binding
18   letter of intent was signed my efforts to market the 80% stock holding would
19   continue.
20         13.    Leon and his brothers thereupon signed the 2020 Binding LOI
21   provided to me by Leon on March 3, 2020 and the Trusts terminated all marketing
22   efforts. By paragraph 5 the 2020 Binding LOI required the Trusts to terminate all
23   marketing efforts and terminate any ongoing marketing discussions and the Trusts
24   fulfilled such obligations immediately.
25         14.    Upon the signing of the 2020 Binding LOI the p arties thereupon
26   undertook to finalize a definitive agreement. The parties exchanged draft
27   agreements with edits and suggested changes after March 3. The draft definitive
28                                             -7-
     DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                  Case No.20-CV-00887-DMS-MSB
                   agreements, pursuant to the Falics' demand, provided that they would individually
               2   purchase the 80% stock holding. On March 15, 2020 Leon Falic forwarded a
               3   Stock Purchase Agreement advising that "we haven't reviewed but might be some
               4   changes but this should be what can be signed with minor modifications once we
               5   reviewed in detail." (Attached hereto and marked "Exhibit 7" are a true and
               6   correct copy of the email and the Falics' Stock Purchase Agreement forwarded by
               7   Leon Falic.)
               8          15.     On or about March 17, 2020 Leon Falic advised that the transaction
               9   would not be consummated. His advice was followed up by confirmation by his
              10   counsel that the transaction was being terminated and a demand the deposit be
              11   returned to the Falics. (A true and correct copy of such letter is attached hereto and
              12   marked "Exhibit 8."). The Trusts were unable to reinstate their marketing efforts.
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     0, 1.0   13         16.      As a direct result ofthe Falics' default F & S has been forced to file a
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              14   Chapter 7 liquidation bankruptcy proceeding. The result ofthe Falics' having
 CJ           15   required the Trusts to terminate their marketing efforts prevented the Trusts from
CA
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              16   being able to resurrect their marketing efforts at a time when F&S 's financial
o   c.        17   condition was dire.
O

              18         I declare under penalty ofp erjury under the laws ofthe State of California
              19   that the foregoing is true and correct. Executed on August ('‘7 , 2020 in Oakland,
              20   California.
              21
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              28                                             -8-
                   DECLARATION OF NICOLE UHLIG IN OPPOSITION TO MOTION TO DISMISS
                                                Case No.20-CV-00887-DMS-MSB
EXHIBIT 1
EXHIBIT 2
EXHIBIT 3
EXHIBIT 4
EXHIBIT 5
      EXHIBIT 5
INTENTIONALLY OMITTED
EXHIBIT 6
Anfang der weitergeleiteten Nachricht:

Von: Leon Falic <Leon@Falic.Com>
Betreff: FW: Please get me this inforamtion and a contact at Fairn and Swanson. I
will work on this, together with Tim McCloskey, the CFO of DFA.
Datum: 14. Februar 2020 um 5:43:39 AM MEZ
An: "alberts@fairn.com" <alberts@fairn.com>, 'Nicole Uhlig' <nicoleu@fairn.com>
Kopie: "michelle@domino-danger.com" <michelle@domino-danger.com>

Albert and Nicole and Michelle


I sent you this last night and thought because of the urgency of the matter and both of our interest to
get this deal done you would immediately respond and provide the requested information below.

Today in our call to my surprise you said you wont provide anything until the LOI is signed. However you
provided it this morning to another bank.

Just so you know this statement you made is illegal and unacceptable. It seems you forgot I am a
shareholder and have the rights to all and any information requested.

Maybe we have been too passive and too nice but don’t let that get in the way of what we can be
capable of and willing to do as shareholders.

How can you have expected me to inject 3,500,000 Million Dollars into Fairn and Swanson without any
guarantees and this kind of blackmail behavior.

Ever since this started you have sent numerous LOI changing agreed terms adding and deleting at your
discretion what is convenient for your side and giving less then 24 hours to review and sign.

After all this you say that you need my brothers to sign a personal guarantee and the LOI and I said no
problem. Do you expect me now to give you anything without the Uhlig trust signing and guaranteeing?

Then on the call you said you need the LOI that you never sent signed today by the three of us and must
be today.

Each time we make an agreement you find a way to change it.

Yesterday on the call you said that you don’t want to deal with fast talking slick investors. It seems that’s
the way your behaving.

Something in the financials or the performance of the company you must be hiding as its not clear and
you haven’t provided anything of significance to review and make educated assessments.
With all that I was willing to step in and save this business.

As a Shareholder I will get my Attorneys involved and get to the bottom of this.

We will demand to speak to Wells Fargo to understand the current situation and not be fed lies or
possibilities that never occur.

I was doing anything I can to help but after todays comments you pushed me too far.

Now you will see what type of Shareholder we can be. Using our rights and any legal means to
understand what is going on.

If you wish to explore the sale of the company to others please do so. We will wait and see what you get
and when you get it and will have the right to match as is in our agreement.

At the end we will end up paying far less then you would have received if you made the deal with us and
who knows how long and expensive that process will be.

I hope Wells Fargo is willing to wait and you don’t end up with nothing exhausting their patience
through this process that will be at the least 6 Months including Due Diligence, Refinancing, and write
down of old product that hasn’t moved.

Wishing you well and will be standing on the side line.

Best

Leon



From: Leon Falic
Sent: Wednesday, February 12, 2020 11:05 PM
To: alberts@fairn.com
Cc: 'Nicole Uhlig' <nicoleu@fairn.com>
Subject: FW: Please get me this inforamtion and a contact at Fairn and Swanson. I will work on this,
together with Tim McCloskey, the CFO of DFA.

Simon,

I am copying Albert the CFO of Fairn & Swanson. He can provide what is needed.

Best,

Leon

From: Simon Falic <Simon@Falic.Com>
Sent: Wednesday, February 12, 2020 4:45 PM
To: Leon Falic <Leon@Falic.Com>
Subject: Please get me this inforamtion and a contact at Fairn and Swanson. I will work on this, together
with Tim McCloskey, the CFO of DFA.

Dear Leon,

After discussing the transaction with you, regarding Fairn and Swanson, in order to seek another lender
a.s.a.p., I will need the following information:

        Last 3 years of audited financial statements.
        Year-end-2019- statements
        Borrowing base certificate from current lender
        Inventory appraisal used by the lender for inventory advance rates
        Summary of loan agreement

I am sure there will be more information, but this will get us going, so as to replace the current lender
a.s.a.p.

Thank you,
Simon




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the intended recipient, please notify the sender by e-mail reply and destroy all copies of the original message.
EXHIBIT 7
EXHIBIT 8
